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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEBRASKA

                                                     )                      BK 20-80664
                                                     )
                                                     )
IN THE MATTER OF:                                    )
MATT A. FINKEN                                       )


                      DEBTOR’S OBJECTION TO PROOF OF CLAIM #20
Debtor, by counsel, objects to Proof of Claim Number Twenty filed by VW Credit Leasing, LTD
aka VW Credit, Inc in the amount of 10,900.36 and assigns the following reasons for same:

   1. Creditor, VW Credit Leasing, Ltd. aka VW Credit, Inc., filed a proof of claim at #20, on
       July 13th 2020 for $10,900.36 (ten thousand nine hundred dollars and thirty six cents).
   2. As of March 24, 2020, Debtor had traded in the leased vehicle referenced in claim #20.
   3. Debtor was no longer in possession of the vehicle.
   4. Debtors lease, for the vehicle referenced in claim #20, was paid in its entirety prior to the
       chapter 13 bankruptcy filing.

WHEREFORE, Debtor respectfully requests that this Court disallow the proof of claim filed by
VW Credit Leasing, Ltd. at twenty, and other and further relief as is just and proper



                                                     Matt Finken, Debtor

                                                             /s/ Carrie A. Doll____
                                                             Carrie A. Doll, # 24069
                                                             PO Box 12457
                                                             Omaha, NE 68112
                                                             (402) 740-1489
                                                             Attorney for Debtor(s)
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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEBRASKA


IN THE MATTER OF:                          )                     BK 20-80664
                                           )
MATT A. FINKEN                             )
            Debtor                         )




                     NOTICE SETTING RESISTANCE DEADLINE


PURSUANT To Neb. R. Bankr. 9013, you are notified as follows:
      1. Carrie A. Doll, attorney for the above captioned debtor, has filed an Objection to
          Claim.
      2. The last day to file a resistance to the objection is January 9, 2020.
      3. The resistance period expires without the filing of any resistance, and
          declaration, the Court will consider entering an order granting the relief sought
          without further notice of hearing.

Dated: December 9, 2020



                                                  Matt Finken



                                                  /s/ Carrie A. Doll
                                                  Carrie A. Doll, #24069
                                                  P.O. Box 12457
                                                  Omaha, NE 68112
                                                  Tel: (402) 740-1489
                                                  Fax: (402) 939-0623
                                                  Attorney for Debtor
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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEBRASKA



IN THE MATTER OF:                          )                     BK 20-80664
MATT A FINKEN                              )
                                           )
                                           )
              Debtor(s)                    )
                                           )



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2020, a copy of the Debtor’s Objection to
Claim was served by Electronically or by United States mail to all interested parties, the
Trustee and all creditors listed below.




                                                          Respectfully submitted
                                                          Carrie A. Doll

                                                          /s/ Carrie A. Doll
                                                          Carrie A. Doll, # 24069
                                                          P.O. Box 12457
                                                          Omaha, NE 68112
                                                          (402) 740-1489
                                                          Attorney for Debtor(s)
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                         Internal Revenue Service
                         P.O. Box 7346
                         Philadelphia, PA 19101-7346


                         Amex
                         Correspondence/Bankruptcy
                         Po Box 981540
                         El Paso, TX 79998


                         Bank of America
                         4909 Savarese Circle
                         Fl1-908-01-50
                         Tampa, FL 33634


                         Chase Card Services
                         Attn: Bankruptcy
                         Po Box 15298
                         Wilmington, DE 19850


                         Citibank
                         Attn: Recovery/Centralized Bankruptcy
                         Po Box 790034
                         St Louis, MO 63179


                         Citibank/The Home Depot
                         Attn: Recovery/Centralized Bankruptcy
                         Po Box 790034
                         St Louis, MO 63179


                         Discover Financial
                         Attn: Bankruptcy Department
                         Po Box 15316
                         Wilmington, DE 19850


                         First National Bank
                         1620 Dodge Street
                         Omaha, NE 68197


                         First National Bank
                         Attn: Bankruptcy
                         1620 Dodge St Mailstop 4440
                         Omaha, NE 68197
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                     Kohls/Capital One
                     Attn: Credit Administrator
                     Po Box 3043
                     Milwaukee, WI 53201


                     OneMain Financial
                     Attn: Bankruptcy
                     601 Nw 2nd St #300
                     Evansville, IN 47708


                     Prosper Funding LLC
                     221 Main Street
                     Suite 300
                     San Francisco, CA 94105


                     State Farm Financial S
                     1 State Farm Plaza
                     Bloomington, IL 61710


                     Syncb/PLCC
                     Attn: Bankruptcy
                     Po Box 965060
                     Orlando, FL 32896


                     Synchrony Bank/TJX
                     Attn: Bankruptcy Dept
                     Po Box 965060
                     Orlando, FL 32896


                     Synchrony Bank/Walmart
                     Attn: Bankruptcy
                     Po Box 965060
                     Orlando, FL 32896


                     Target
                     Attn: Bankruptcy
                     Po Box 9475
                     Minneapolis, MN 55440


                     VW Credit Inc.
                     Attn: Bankruptcy
                     Po Box 9013
                     Addison, TX 75001
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                     Webbank/Gettington
                     Attn: Bankruptcy
                     6250 Ridgewood Rd
                     Saint Cloud, MN 56301


                     Wells Fargo Home Mor
                     Attn: Written Correspondence/Bankruptcy
                     Mac#2302-04e Pob 10335
                     Des Moines, IA 50306
